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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

PRUVIT VENTURES, INC.                                  §
                                                       §
         Plaintiff,                                    §
                                                       §
v.                                                     §        CIVIL ACTION NO. 4:23cv00867-SDJ
                                                       §
HAYLEY WITTE                                           §
                                                       §
                                                       §
         Defendants.                                   §

               AGREED PERMANENT INJUNCTION AND FINAL JUDGMENT

         Pending before the Court is Plaintiff Pruvit Ventures, Inc. (“Pruvit” or “Plaintiff”) and

Defendant Hayley Witte (“Witte” or “Defendant”) Joint Application for Entry of Agreed

Permanent Injunction. Parties have advised the Court that they request the Court enter the

following Agreed Permanent Injunction (the “Order”) have fully and completely consented to and

agreed to be bound by this Order,1 and have reached a settlement in this case.

         After considering the application, the record, the relevant authorities, and in light of the

agreement of the parties, the Court finds that there is good cause to grant this Order. The Court

further finds that Pruvit is entitled to the Agreed Permanent Injunction in this matter, hereby makes

all necessary findings to support the entry of this Order, and the parties hereto waive any other

findings or procedural requirements necessary to support entry of this Order.

         For purposes of this Order, the below referenced terms are defined as follows: Witte shall

be defined as including herself in her individual capacity and any agent acting both on her behalf

and at her direction, as it relates to the terms of this Order. Pruvit shall be defined as its agents,



1
 The parties have stipulated, and the Court now finds, that all parties enjoined by this Order have waived all rights to
seek judicial review or otherwise challenge or contest the validity of this Order, whether directly or collaterally.


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employees, consultants, attorneys, representatives, affiliates, entities, successors, and assigns, and

any and all other persons and entities under their control and/or direction or acting in active concert

and participation with them. This definition specifically excludes Pruvit’s independent distributors

commonly known as Pruvers.

       Based on the Parties’ agreement and the Court’s findings, it is ORDERED as follows:

       Witte is enjoined and restrained, both directly and indirectly, from engaging in any of the

following:

   1. Through July 27, 2024, Witte is restrained from knowingly inducing any existing customer
   of Pruvit to terminate his/her/its business relationship with Pruvit, including requesting that
   customer to promote Witte’s 7 Figure Accelerator business or Witte’s other non-Pruvit
   business on his/her/its social media and/or networking sites that he/she/it uses to promote
   Pruvit’s products or services.

   2. Through July 27, 2024, Witte is restrained from knowingly inducing any existing promoter
   of Pruvit to terminate his/her/its business relationship with Pruvit, including requesting that
   promoter to promote Witte’s 7 Figure Accelerator business or Witte’s other non-Pruvit
   business on his/her/its social media and networking sites that he/she/it uses to promote Pruvit’s
   products or services;

   3. Knowingly inducing any existing promoter of Pruvit to violate or breach the terms of
   his/her/its business relationship with Pruvit; and

   4. Through July 27, 2024, Witte is restrained from directly or indirectly recruiting any other
   Pruvit promoters and customers, of which she had a previous relationship with, for any other
   direct sales, multi-level marketing or network marketing business. This restriction does not
   apply to an affiliate program that does not satisfy the definition of a network marketing and/or
   direct sales company under the Pruvit Policies & Procedures, which states that such companies
   are defined as “[a]ny multi-level marketing, direct sales, network marketing, affiliate
   marketing, or other business opportunity or program with a multi-tier (i.e., more than one (1)
   level) commission structure and/or other inventive to refer, recruit, sponsor and/or enroll
   participants in that opportunity or program.” Moreover, for purposes of this provision,
   “recruiting” does not include responding to inquiries that were first initiated by the
   customer/promoter, or communications with those individuals who desire to join another
   opportunity without any recruiting efforts or initial contact by Witte, or a third party instructed
   by Witte to recruit such person(s).




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       If Pruvit believes that there has been a violation of any of the injunctive provisions above,

then Pruvit shall provide written Notice to Witte. Notice shall be provided to Wellman & Warren,

LLP, at email addresses cwellman@w-wlaw.com and hfrljuckic@w-wlaw.com, and to Conley

Rosenberg & Mendez PC, at email addresses pjc@crm-lawfirm.com and jmr@crm-lawfirm.com.

Witte will then have seven (7) days from receipt of the Notice to cure the alleged violation (“Cure

Period”), to the extent cure is possible.
     . Other than the injunctive relief granted hereby, the Court ORDERS that any other claims

by and between the parties are DISMISSED WITH PREJUDICE and this case closed.

       The Court further ORDERS that it shall retain jurisdiction over this matter solely to

enforce this Order, hold contempt and other proceedings to enforce this Order, and to issue any

relief the Court deems appropriate should any of the parties violate this Order.

       This Final Judgment and Agreed Permanent Injunction shall be entered as a final judgment

under Federal Rule of Civil Procedure 54 and 58(a).


         So ORDERED and SIGNED this 3rd day of February, 2024.




                                                          ____________________________________
                                                          SEAN D. JORDAN
                                                          UNITED STATES DISTRICT JUDGE




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      AGREED AS TO FORM AND SUBSTANCE
      AND ENTRY REQUESTED:



      /s/ Kelly E. Kleist________
      BYRON K. HENRY
      KELLY E. KLEIST
      Attorney for Plaintiff



      /s/ Chris Wellman (with permission)
      CHRIS WELLMAN
      Attorney for Defendant




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